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 6                           UNITED STATES DISTRICT COURT
 7                         SOUTHERN DISTRICT OF CALIFORNIA
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 9   IN RE: PACKAGED SEAFOOD                         Case No.: 15-MD-2670 JLS (MDD)
10   PRODUCTS ANTITRUST LITIGATION
                                                     ORDER GRANTING MOTION TO
11                                                   STRIKE
12                                                   (ECF No. 1333)
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15         Presently before the Court is Plaintiff Associated Wholesale Grocers, Inc.
16   (“AWG”)’s Motion to Strike, (ECF No. 1333). AWG seeks to strike the public, redacted
17   version of its own First Amended Complaint. AWG states it inadequately redacted
18   portions of the document. AWG will re-file its redacted first amended complaint correcting
19   the issue. The Court GRANTS the Motion. The Clerk SHALL strike ECF No. 1326.
20         IT IS SO ORDERED.
21   Dated: August 14, 2018
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